Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 1 of 8

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

 

PATRICK GAYLE, et al. Case No. 20cv21553

Petitioners,

Vv.

MICHAEL W. MEADE,
Field Office Director, Miami Field Office, U.S.
Immigration and Customs Enforcement et al.,

Respondents.

 

DECLARATION OF ASSISTANT FIELD OFFICE DIRECTOR
JUAN A, LOPEZ VEGA

I, Juan A. Lopez Vega, Assistant Field Office Director (AFOD), make the following statements
under oath and subject to the penalty of perjury:

1. Iam employed by U.S. Department of Homeland Security (DHS), Immigration and
Customs Enforcement (ICE), and currently serve as the Acting Officer in Charge
(AIOC) of the Broward Transitional Center (BTC). I have held this position since
September 29, 2019. I have been employed with DHS since April 1, 2003.

2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
and information obtained from various records, systems, databases, other DHS
employees, employees of DHS contract facilities, and information portals maintained
and relied upon by DHS in the regular course of business. This declaration responds
to the court’s order of May 21, 2020, relating to ICE’s compliance with the court’s
temporary restraining order.

3. Iam aware of the court’s orders requiring ICE to (1) evaluate the named Petitioners in
this case and inform the court who could be released; (2) consider health status, bond
eligibility, immigration status, immigration court history and prior criminal history
when making the evaluations; and (3) submit a report about how it intends to accelerate
its review of detainee release protocols “with the goal of reducing the population to
75% of capacity at each of the three detention centers within two weeks” of the TRO;
and (4) permitting ICE to “transfer detainees from the three facilities at issue,” but only
after “first evaluating each detainee and making a determination” of the detainee’s
release eligibility under the PRR.
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 2 of 8

4. Item 3 of the court’s order required a response within three days to describe the
procedures within which ICE would accelerate release of detainees with a goal of
reducing the detainee population to 75% capacity at each detention facility, as set forth
in the PRR. ICE provided a declaration in support of the court’s requirement ICE
provided its declaration responsive to this request on May 3, 2020, as ordered by the
court.

5. To ensure compliance with Item 2 of the court’s order requiring a custody review of
each of the named Petitioner’s in this litigation, and as an organizational tool and for
purposes of this case, ICE created a spreadsheet containing each of the named 58
Petitioners in this case, which included their names, dates of births, date of entry into
each of the three detention centers named in this case, their health status, whether they
were eligible for bond, their immigration status to include the removal charges, the
status of their removal proceedings before the immigration court, prior criminal
convictions, and any pending criminal charges.

6. The spreadsheet was populated with the information pertaining to each of the 58
Plaintiff's. ICE requested from the facilities’ medical provider a list of detainees with
chronic health conditions. ICE used that list to populate the “current health status
column. Each case was reviewed using information obtained from various records,
systems, databases.

7. As of May 7, 2020, and as set forth in my declaration of May 7, 2020, ICE reviewed
the custody status and other factors as requested by the court, for each of the named
Petitioners, to determine who could be released. In addition to the factors listed by the
court, ICE’s decisions were also informed by the EPP, which incorporated by reference
the CDC’s Interim Guidance on Management of Coronavirus Disease (COVID-19) in
Correctional and Detention Facilities; U.S. Immigration and Customs Enforcement,
Updated ICE statement on COVID-19 (Mar. 18, 2020),
https://www.ice.gov/news/releases/updated-ice-statement-covid-19 (Attachment A);
ICE National Detention Standards 2019, Standard 4.3, Medical Care,
https://www.ice.gov/doclib/detention-standards/2019/4_3.pdf (Attachment B); 2011
ICE Performance-Based National Detention Standards, Revised 2016, Standard 4.3,

https://www.ice.gov/doclib/detention-standards/2011/4-3.pdf (Attachment C); 2008
ICE Performance-Based National Detention Standards, Standard 4-22, Medical Care,

https://www.ice.gov/doclib/dro/detention-standards/pdf/medical_care.pdf
(Attachment D); Centers of Disease Control and Prevention, Interim Guidance on
Management of Coronavirus Disease 2019 (COVID-19) in Correctional and Detention
Facilities (Mar. 23, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/downloads/guidance-correctional-
detention.pdf (Attachment E); Memorandum from Executive Associate Director
Enrique Lucero, Enforcement and Removal Operations, Memorandum on Coronavirus
2019 (COVID-19) Action Plan, Revision 1 (Mar. 27. 2020) (Attachment F); Centers of
Disease Control and Prevention, Public Health Recommendations for Community-
Related Exposure,
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 3 of 8

https://www.cdc.gov/coronavirus/201 9-ncov/php/public-health-
recommendations.html (last visited Apr. 9, 2020) (Attachment G); Centers for Disease
Control and Prevention, Strategies to Optimize the Supply of PPE and Equipment,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/ (last visited Apr. 9,
2020) (Attachment H); Centers for Disease Control and Prevention, Cleaning and
Disinfection for Community Facilities,

hitps://www.cdc.gov/coronavirus/2019-
ncov/community/organizations/cleaning-disinfection.html (last visited Apr. 9, 2020)
(Attachment D; U.S. Environmental Protection Agency, List N: Disinfectants for Use
Against SARS-CoV-2, https://www.epa.gov/pesticide-registration/list-n-disinfectants-
use-against-sars-cov-2 (last visited Apr. 9, 2020) (Attachment J); and Assistant
Director Peter Berg, Enforcement and Removal Operations, Updated Guidance:
COVID-19 Detained Docket Review (Apr. 4, 2020) (Exhibit K).

8. ICE provided information related to custody reviews in conformance with the court’s
order, and in compliance with ICE’s PRR, in declarations dated April 16, 2020,
May 3, 2020, and May 6, 2020.

 

9; = Item 4 of the court’s order required a report every Friday of (a) the number of detainees
who have been released; (b) which facility they were released from; and (c) the nature
of the detainee released (e.g., in a high-risk category because of age or a specific,
documented medical condition, etc.). ICE has complied with this provision of the
court’s order, as set forth in its declarations of May 8, 2020, May 15, 2020 and May
22, 2020.

10. Item 5 of the court’s order requested twice weekly reports from ICE relating to (a) how
many detainees it is housing on the date of reporting (b) at which of the three centers
the detainees are being housed; (c) which of the detainees are considered “mandatory
detainees”; and (d) which of the detainees have no prior criminal convictions and no
pending criminal charges. ICE provided this information to the court in its declarations
of May 11, 2020, May 14, 2020, May 18, 2020, and May 21, 2020.

11. Item 6 of the court’s order require that “ICE shall immediately comply with the CDC
and ICE guidelines on providing adequate amounts of soap and water and cleaning
materials to detainees at each of the three detention centers at issue. Further, within two
(2) days of this Order, ICE shall provide masks to all detainees and shall replace those
masks at least once per week. ICE maintains that it is in compliance with the court’s

order regarding provision of soap and water, cleaning materials and masks to detainees
at BTC.

12. To the extent a detainee complains that he is not timely receiving replenishment of soap
and other hygiene items, the detention standards set forth grievance procedures to
ensure that a detainee’s needs are met in a timely manner. I am responsible for ensuring
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 4 of 8

the good order and security of the detention facility and for ensuring compliance with
the detention standards and ICE procedures.

13. PBNDS Standard 6.2 sets forth the grievance procedures at a detention facility, to
include BTC. The Performance Based National Detention Standards 2011(rev. Dec.
2016) apply to ICE and ICE-contracted facilities. The Grievance System standard (Part
6.2) establishes a grievance procedure system for use within a facility. The standard
provides for informal grievances, emergency grievances, formal written grievances and
medical grievances. It includes the right to appeal a grievance to a higher level, and to
be free from retaliation for filing any complaint. The Informal Grievance process
affords the detainee a chance to quickly resolve a grievance before resorting to a
written, formal procedure. The staff at the facility must strive to resolve a grievance at
the lowest level possible, in an orderly and expeditious manner. The Emergency
Grievance process provides written procedures to identify and address time-sensitive
grievances that involve an immediate threat to health, safety or welfare. Such
grievances may include urgent access to legal counsel and the law library. All staff
must be trained to respond to emergency grievances in an appropriate and expeditious
manner. The Formal Written Grievance process includes three levels of formal review.
It may be filed at any time, even in lieu of an informal grievance. The detainee must
be provided a written or oral response within five days of the grievance. The Medical
Grievance process follows the formal written grievance process. The grievance is
submitted directly to medical personnel at the facility and it may be sealed or marked
“medically sensitive.” Medical staff must act on the grievance within five working
days of receipt and must provide the detainee with a written decision, including the
rationale for the decision.

14. Each facility is required to have a written policy and procedure for detainee grievances.
Detainees are informed of the grievance procedure upon admittance to a facility.
Further, detainees are provided with a handbook, the ERO National Detainee
Handbook, which includes instructions on how to file complaints and grievances, how
to appeal the decision, and how to report staff misconduct. The handbook is available
in English, Spanish and Creole. This handbook is also available in electronic format
in the tablet each detainee is issued in their respective dormitory. The handbook
explains the difference between a request and a grievance. It explains how to make a
request to staff verbally or in writing. It explains how to submit a grievance. In
addition to explaining the grievance procedure, the handbook provides information on
other ways to submit a complaint or report staff misconduct to entities outside the
facility, such as the DHS Office of the Inspector General, DHS Joint Intake and the
ICE Detention Reporting and Information Line. Notably, the handbook advises that
“No harassment, punishment or disciplinary action will result simply
because you are seeking resolution of a complaint or for contacting the

Inspector General. You have every right to present a complaint.”

15. All forms of retaliation against a detainee who files a grievance are prohibited. Each
facility is required to maintain records of detainee grievances. A grievance log must
be maintained and is subject to regular inspection by the Field Office Director and ICE
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 5 of 8

headquarters staff. ICE’s logs do not reflect any allegation of retaliation based upon
this case or any other. Our detention staff receive yearly training regarding reporting
allegations of misconduct and are counseled that retaliation will not be tolerated.

16. As noted in ERO’s declaration dated May 2, 2020, detainees at BTC are provided soap
and water, as well as cleaning materials and masks to every detainee at the facility.
With respect to complaints that ICE is not providing a sufficient amount of soap, or is
failing to refill basic hygiene products in a timely manner, detention staff provides
additional soap and hygiene items, as needed, upon request of the detainee. The
Broward Transitional Center provides disinfectant spray to cleaning crews and
detainees for the sanitizing of the facility and rooms. Antibacterial soap is available
and provided to all detainees in every housing unit at its facility. Every room contains
a 7.5-ounce bottle of Dial antibacterial soap, and the dispenser is filled up as needed
seven days per week. The administration is encouraging both staff and the general
population to use these tools often and liberally. The Broward Transitional Center
provides hand sanitizer to staff upon entering the facility and throughout the facility.
Detainees are provided hand sanitizer upon entering the dining hall and medical unit.
Further, ICE routinely refills soap dispensers and hand sanitizer stations. These
requests are considered emergency requests under the PBNDS, since they affect the
health and safety of detainees in the detention facility. Masks are exchanged once per
week at BTC pursuant to the court’s order, or as needed per detainee requests, and they
are instructed on how to use them.

17. Item 7 of the court’s order requires that ICE provide education and training about
measures to reduce the health risks associated with COVID-19 to all staff members and
detainees and to any new detainees or employees, without cost to the detainees. As set
forth in Respondents’ declaration of April 16, 2020 and May 15, 2020, education
relating to cough etiquette, hand washing, and other mitigation efforts are accomplished
through various means, to include prominent display of CDC posters in housing units
as well as common areas of the detention facility as well as instruction through GEO
Medical, conducted during medical rounds at the detention facility. In addition, and as
set forth in ERO’s declaration of May 15, 2020, both staff and detainees have received
instructions relating to the proper use of masks and the importance of hand washing.

18. As of the date of the court’s May 2, 2020 order, ERO had reviewed not only the
Petitioners’ custody and health conditions pursuant to its PRR, but was also required
to review its cases pursuant to the court’s nationwide order in Fraihat v. ICE, 19-cv-
01546 (C.D. Cal. Apr. 20, 2020). That case required nationwide review of detainees
falling with one of two subclasses, who have been identified by ICE Health Service
Corps as having a medical condition that makes them “at risk” for COVID-19,
according to the CDC guidelines and the factors enumerated in U.S. District Court for
the Central District of California preliminary injunction order in Fraihat v. ICE, ---F.
Supp. 3d ---, 2020 WL 1932570 (Apr. 20, 2020), to determine if their detention remains
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 6 of 8

appropriate. Declaration of March 3, 2020. Further, ICE advised the court that it also
identifies within five days of coming to ICE custody all detainees with risk factors and
considers them in making custody determinations.

19, Further, on May 5, 2020, ERO introduced a new Coronavirus Disease 2019 (COVID-
19) checklist intended to provide ERO and contracted staff with steps to take prior to
transferring, removing, or releasing an alien from ERO custody to further mitigate the
spread of COVID-19. These guidelines are in addition to all other transfer, removal,
and release requirements, per the detention standards. The checklist requires
completion by an ERO officer or contracted staff prior to a detainee being booked out
of the detention facility and is served on the detainee. A completed copy of the
checklist is maintained in the detainee’s detention file.

20. Detainees scheduled for transfer must be cleared medically prior to the transfer.
Detainees that are in isolation, are symptomatic, have pending test results or that are
cohorted due to exposure to a person with confirmed or suspected COVID-19 are not
to be transferred or transported unless medically necessary or ordered released from
custody.

21. The COVID-19 checklist requires verification of a detainee’s current health status and
exposure history prior to transfer.

22. I can attest that ERO reviewed the custody status of each detainee prior to transfer and
obtained a medical clearance for each detainee transferred in accordance with the
detention standards and ERO’s PRR.

23. Detainee transfers are based upon bed-space considerations and custody classification.

24. Transportation of detainees is governed by detention standards. PBNDS 7.4. With
respect to transportation by land from one facility to another, detention and
transportation staff provide each detainee with a mask prior to transfer, and monitor
detainees during the transportation process. Detainees are counseled on proper mask
use and are reminded to wear a mask.

25. With respect to transfers or removals by air, the COVID-19 checklist is in addition to
and does not take the place of the medical transfer summary advising the alien is
medically cleared for travel and utilized for ICE Air charters. In addition to required
temperature screening prior to leaving the facility, ICE Air conducts temperature
checks at the flight line prior to departure. Aliens arriving at the flight line without the
requisite forms to include a medical transfer summary and COVID-19 checklist are
denied boarding. In addition, any detainee transferred by air is required to wear a mask
on the flight and while transferring to the receiving detention facility. Detainees
without a mask are denied boarding by ICE Air operations.

26. Prior to any transfer, the medical staff at BTC must review the detainee’s medical
history and medically-clear the detainee in advance of a transfer to another detention
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 7 of 8

facility. The medical staff provides the medical clearance form in advance of the

detainee’s transfer for his detention file. Medical summaries are then provided to the
receiving detention facility.

27. I am aware of allegations in the Petitioners’ motion to compel that transfers have been
ordered as either retaliation for the filing of this lawsuit or to otherwise circumvent the
court’s jurisdiction in this case. The allegations are untrue.

28. On May 24, 2020, the detention location of the 58 Plaintiffs was reviewed. Of the initial
34 Plaintiffs, 7 have been released from ICE custody. The remaining 27 are currently
detained at the detention location where they were housed when this lawsuit was filed
and they remain under the court’s jurisdiction.

29. Of the additional 24 Plaintiffs who joined the lawsuit, 6 have been released from ICE
custody and 15 are currently detained at the detention location where they were housed
when this lawsuit was filed, and they remain under the court’s jurisdiction. ICE has
transferred 3 of these Plaintiffs.

a. On May 2, 2020, ICE transferred Plaintiff Lenor to a local hospital for mental
health evaluation and treatment. Plaintiff Lenor was not transferred as
retaliation for filing this lawsuit or to circumvent the court’s jurisdiction.
Plaintiff Lenor remains under the court’s jurisdiction.

b. On May 18, 2020 ICE transferred Plaintiff Perez Valladares from BTC to
Krome due to security reasons. Plaintiff Perez-Valladares was found to have
been part of a small group of detainees attempting to organize and incite a
facility disturbance. Plaintiff Perez Valladares was not transferred as retaliation
for filing this lawsuit or to circumvent the court’s jurisdiction. Plaintiff Perez-
Valladares remains under the court’s jurisdiction.

c. On May 21, 2020, Plaintiff Lucien was transferred to the Alexandria Staging
Facility in preparation for his upcoming removal flight. This type of transfer is
part of the standard operating procedure for removal flights to Haiti. Plaintiff
Lucien was not transferred as retaliation for filing this lawsuit or to circumvent
the court’s jurisdiction. Plaintiff Lucien was transferred in order to enforce the
removal order issued by an immigration judge.

30. Additionally, I am aware of allegations that ICE is not compliant with the CDC’s
guidance relating to social distancing. ERO continues to encourage social distancing
between detainees at detention facilities by encouraging detainees to sleep head to toe,
staggering of recreation and meals, and suspension of social visitation. Notably, the
Interim Guidance promulgated by the CDC for detention centers notes that “The
guidance may need to be adapted based on individual facilities’ physical space,
staffing, population, operations, and other resources and conditions.” For example,
while BTC has made an accommodation for detainee use of hand sanitizer, not all
detention facilities have determined that the benefit of using hand sanitizer is
outweighed by the security risk inherent in its use. Detention officials may determine
that, based upon security concerns, that use of soap and water for hand hygiene is more
Case 1:20-cv-21553-MGC Document 116-2 Entered on FLSD Docket 05/25/2020 Page 8 of 8

appropriate based upon the detainees’ risk classification at the detention facility.
Similarly, rearranging of furniture to allow for six feet of social distancing may not be
feasible at detention facilities, where much of the furniture to include bunkbeds and
benches is bolted to the floor. Such is the case of the bunkbeds and benches at BTC.

31. I am aware of reports that detainees transferred to BTC from Krome were reported to
have tested positive for COVID-19. Those detainees were cleared medically prior to
their transfer to the receiving facility, and COVID-19 checklists were also completed.
ICE believes that it has taken appropriate measures to mitigate the risk of spread of
COVID-19 from detention facilities and believes that the procedures for isolation of
new transfers for a period of 14-day monitoring, in accordance with the CDC’s interim
guidance, appropriately mitigates the risk of spread of disease. In light of the cohorting
procedures in place for new transfers for a period of 14 days, I do not believe that the
transfer has resulted in an increase in COVID- ses at BTC..At this time, the 14 day
period required for isolation is still in effect

  
  

DATED: May 25, 2020

 

Judn A. Lopez Vega
Agsistant Field Office Director
orcement and Removal Operations
U.S. Immigration and Customs Enforcement
